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                                                                                              7/23/2019
                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA                             s/ J. Vasquez
                                     Harrisonburg Division


  JOHN DOE 4, by and through his next            )
  friend, NELSON LOPEZ, on behalf of             )
  himself and all persons similarly situated,    )
                                                 )
                  Plaintiffs,                    )
                                                 )        Case No. 5:17-cv-00097 EKD/JCH
          v.                                     )        Judge Elizabeth K. Dillon
                                                 )
  SHENANDOAH VALLEY JUVENILE                     )
  CENTER COMMISSION,                             )
                                                 )
                  Defendant.                     )
                                                 )


                                      FINAL JUDGMENT ORDER

          This matter comes before the Court for entry of an Order of Final Judgment following the

  completion of a Fairness Hearing, conducted in accordance with the requirements of Rules

  23(e)(1) and 23(e)(2), Fed. R. Civ. P.

          The Court has considered: (i) the reasonableness and adequacy of the Notice provided by

  Plaintiffs’ counsel to the members of the Plaintiff Class and all other interested or potentially-

  interested parties; (ii) the absence of objections to the resolution of this action proposed by

  Plaintiffs’ counsel as described in their Motion for Issuance of Class Notice Concerning

  Voluntary Dismissal of Certain Class Claims, filed February 11, 2019 (ECF Docket No. 180),

  which was granted by this Court by Order entered March 19, 2019 (ECF Dkt. No. 183); and (iii)

  the written and oral submissions of the respective Parties by counsel in the Fairness Hearing

  conducted by the Court on May 30 and July 16, 2019. Based upon all of the foregoing, the Court

  finds that Plaintiffs’ proposed resolution is fair, reasonable, and adequate under all of the
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  circumstances of this case. Accordingly, it is hereby ORDERED, ADJUDGED, and DECREED

  as follows:

            (a)    Plaintiffs’ claims alleging Defendant’s use of excessive force, excessive

  imposition of restraints and excessive use of solitary confinement, all as set forth in Count I of

  Plaintiffs’ Second Amended Class Action Complaint filed July 11, 2018 (ECF Dkt. No. 68), are

  hereby DISMISSED, with prejudice, pursuant to Rule 41(a)(2), Fed. R. Civ. P.;

            (b)    Judgment for the Defendant is hereby ENTERED with respect to Plaintiffs’

  claims alleging Defendant’s failure to provide the Plaintiff Class with constitutionally-adequate

  mental health treatment, as set forth in Count II of Plaintiffs’ Second Amended Class Action

  Complaint, for the reasons stated in this Court’s Memorandum Opinion and Order entered

  December 13, 2018 (ECF Dkt. Nos. 171, 172), pursuant to Rules 56 and 58(a), Fed. R. Civ. P.;

  and

            (c)    Plaintiffs and Defendant shall bear their own costs incurred in litigating this

  action.

            Entered: July 23, 2019.

                                                  /s/ Elizabeth K. Dillon
                                                  Elizabeth K. Dillon
                                                  United States District Judge
